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             EXHIBIT B
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 7

 8

 9                               UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                     OAKLAND DIVISION
12   WHATSAPP INC., a Delaware corporation,     Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                               DEFENDANTS’ RESPONSES AND
                                                OBJECTIONS TO PLAINTIFFS’ FIRST
14                                              REQUESTS FOR PRODUCTION
                  Plaintiffs,
15
           v.
                                                Action Filed: 10/29/2019
16
     NSO GROUP TECHNOLOGIES LIMITED
17   and Q CYBER TECHNOLOGIES LIMITED,

18                Defendants.

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     OBJECTIONS TO PLAINTIFFS’ FIRST                                Case No. 4:19-cv-07123-PJH
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 1          Pursuant to Rule 45 of the Federal Rules of Civil Procedure, Defendants hereby object

 2   and respond to Plaintiffs’ First Requests for Production.

 3                                   PRELIMINARY STATEMENT

 4          Nothing in this response should be construed as an admission with respect to the

 5   admissibility or relevance of any fact or document, or of the truth or accuracy of any

 6   characterization or statement of any kind contained in Plaintiff’s First Requests for Production.

 7   Defendants have not fully completed their discovery and investigation of the facts relating to this

 8   case and have not completed preparation for trial. The responses contained herein are based only

 9   upon such information and documents which are currently available, and specifically known, to

10   Defendants.

11          It is anticipated that further discovery, independent investigation, legal research, and

12   analysis may supply additional facts, add meaning to known facts, and establish entirely new

13   factual conclusions and legal contentions, all of which may lead to substantial additions to, changes

14   in, and variations from the responses set forth herein.

15          The following objections and responses are given without prejudice to Defendants’ right

16   to produce evidence, at trial or otherwise, regarding any subsequently discovered facts or

17   information. Defendants reserve the right to modify and amend any and all responses herein as

18   additional facts are ascertained, as analysis and contentions are made, or as research is completed.

19   The responses contained herein are made in a good faith effort to supply as much factual

20   information and as much specification of legal contentions as are presently known but should in

21   no way prejudice Defendants in relation to further discovery, research, or analysis.

22          By submitting these responses and objections, Defendants do not consent to jurisdiction of

23   the Court and do not waive their defenses that the Court lacks subject-matter and personal

24   jurisdiction. To the contrary, Defendants hereby preserve those defenses.

25          Any representation that Defendants will produce documents responsive to any request, in

26   whole or in part, is expressly conditioned upon entry of a protective order governing the uses that

27   may be made of documents produced in litigation and the persons to whom they may be disclosed.

28          Defendants reserve the right to redact information from certain documents as may be
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 1   necessary to comply with Israeli or other foreign law or contractual obligation.

 2                                       GENERAL OBJECTIONS

 3           Defendants interpose the following general objections into each of the specific objections

 4   that follow as if the general objections were set forth in full in each specific objection.

 5           1.     Defendants object to the Requests to the extent they seek information that exceeds

 6   the scope of permissible discovery under the Federal Rules of Civil Procedure or seeks to impose

 7   upon Defendants obligations beyond those required by the Federal Rules of Civil Procedure.

 8           2.     Defendants object to the Requests to the extent they seek information that is not

 9 related or relevant to Plaintiffs’ allegations that Defendants operated a software called “Pegasus”

10 with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7).

11           3.     Defendants object to the Requests to the extent they seek information already in the

12 possession, custody, or control of Plaintiffs; information that is available from public sources; or

13 information that is as readily available to Plaintiff as to Defendants on the grounds that it would

14 be unduly burdensome and oppressive to require Defendants to obtain, process, and reproduce

15 such documents.

16           4.     Defendants object to the Requests to the extent they assert and/or assume unproven

17 conclusions as established facts.

18           5.     Defendants object to the Requests to the extent they seek information protected

19 from disclosure by the attorney-client privilege, the attorney work-product doctrine, and/or any

20 other privilege or protection against disclosure.

21           6.     Defendants object to the Requests to the extent they seek information that would

22 disclose trade secrets, state secrets, or other confidential, proprietary, or competitively sensitive

23 business information, or that may be protected by a right of privacy under the United States

24 Constitution, Article I, Section 1 of the Constitution of the State of California, Israeli privacy laws,

25 or any other applicable law.

26           7.     Defendants object to the Requests to the extent they seek information that

27 Defendants are prohibited from disclosing by Israeli law, regulation, or governmental order or

28 directive, or any other applicable law, regulation, or governmental order or directive, or by
     OBJECTIONS TO PLAINTIFFS’ FIRST              2                              Case No. 4:19-cv-07123-PJH
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 1   contract.

 2          8.      Defendants object to the Requests to the extent they seek information that is not

 3   within Defendants’ custody and control. To the extent that Defendants produce materials in

 4   response to the Requests, Defendants will produce materials that are within Defendants’ custody

 5   and control and identified after a reasonable investigation.

 6          9.      Defendants object to the Requests on the ground that they purport to require

 7   Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign immunity

 8   and Due Process rights.

 9          10.     Defendants object to the Requests on the ground that they purport to require

10   Defendants to participate in this lawsuit despite that Plaintiffs have not established personal

11   jurisdiction over Defendants.

12          11.     Defendants object to the Requests on the grounds that they purport to require

13   Defendants to engage in discovery while a Motion to Stay Discovery Pending Resolution of

14   Motion to Dismiss [Dkt. No. 95] is currently pending before the Court.

15          12.     Defendants object to the defined term “EXPLOITS” because the phrases “take

16   advantage of” and “to cause unauthorized, unintended or unanticipated behavior to occur” are

17   vague and ambiguous.

18                                      SPECIFIC OBJECTIONS

19   REQUEST FOR PRODUCTION NO. 1:

20          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the development,

21   testing, deployment, installation, distribution, use, maintenance, troubleshooting, and/or operation

22   of any NSO SPYWARE targeting or directed at WHATSAPP servers or USERS

23   RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

24          Defendants incorporate their General Objections, including that this Request purports to

25   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

26   immunity and Due Process rights and despite that Plaintiffs have not established personal

27   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

28   burdensome, and not proportional to the needs of the litigation. Among other reasons, the Request
     OBJECTIONS TO PLAINTIFFS’ FIRST             3                             Case No. 4:19-cv-07123-PJH
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 1   seeks information related to technologies other than the Pegasus technology that was used with

 2   respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no

 3   relevance to Plaintiffs’ allegations or any issue in this case. Defendants further object that the

 4   terms “deployment,” “use,” and “operation,” as well as the phrase “targeted or directed at,” are

 5   vague and ambiguous. Defendants further object that documents and communications relating to

 6   the deployment, installation, distribution, use and operation of Pegasus by Defendants’ sovereign

 7   customers are third-party information that Defendants are prohibited from disclosing by

 8   contractual obligations or foreign law, regulation, governmental order or directive. Responsive

 9   materials are being withheld on the basis of these objections.

10          Subject to and without waiving these objections, and conditioned on whether the Court

11   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

12   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

13   responsive and nonprivileged documents and communications, if any exist, related to the

14   development, testing, maintenance and troubleshooting of the Pegasus technology that was used

15 with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that

16 Defendants are able to locate after a reasonable search, provided that (1) the subject matter

17   jurisdiction of this action is established and, if taken, any interlocutory appeal of such decision is

18   determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines

19 discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing such

20 documents and communications by Israeli law, regulation, or governmental order or directive, or

21 any other applicable law, regulation, or governmental order or directive, or by contract. If the

22 Court determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants

23 and that discovery is proper at this stage, and if Defendants are not otherwise prohibited from

24 making such a disclosure, Defendants anticipate substantial completion of their responsive

25 production within 180 days after such determinations by the Court.

26   REQUEST FOR PRODUCTION NO. 2:

27          DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS, teams,

28   groups, divisions, or sections at NSO responsible for developing, testing, deploying, using,
     OBJECTIONS TO PLAINTIFFS’ FIRST              4                              Case No. 4:19-cv-07123-PJH
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 1   distributing, maintaining, troubleshooting, and/or operating NSO SPYWARE targeting or directed

 2   at WHATSAPP servers or USERS.

 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

 4          Defendants incorporate their General Objections, including that this Request purports to

 5   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

 6   immunity and Due Process rights and despite that Plaintiffs have not established personal

 7   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

 8 burdensome, and not proportional to the needs of the litigation because it seeks information related
 9 to technologies other than the Pegasus technology that was used with respect to the “Target

10 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

11 allegations or any issue in this case. Defendants further object that the terms “deploying,” “using,”

12 and “operating,” as well as the phrase “targeted or directed at,” are vague and ambiguous.

13   Defendants further object to this request to the extent that it falsely implies that persons, teams,

14   groups, divisions or sections at NSO deploy, use, distribute, or operate Pegasus or any other

15   technology within the definition of “NSO SPYWARE.” Responsive materials are being withheld

16   on the basis of these objections.

17          Subject to and without waiving these objections, and conditioned on whether the Court

18   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

19   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

20   responsive and nonprivileged documents and communications, sufficient to identify persons

21   responsible for the development, testing, maintenance and troubleshooting of the Pegasus

22   technology that was used with respect to the “Target Devices” described in the Complaint (Dkt.

23 No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search, provided that (1) the

24   subject matter jurisdiction of this action is established and, if taken, any interlocutory appeal of

25 such decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3) the

26 Court determines discovery is proper at this stage; and (4) Defendants are not prohibited from

27 disclosing such documents and communications by Israeli law, regulation, or governmental order

28 or directive, or any other applicable law, regulation, or governmental order or directive, or by
     OBJECTIONS TO PLAINTIFFS’ FIRST             5                             Case No. 4:19-cv-07123-PJH
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 1   contract. If the Court determines it has jurisdiction of the subject matter and personal jurisdiction

 2   over Defendants and that discovery is proper at this stage, and if Defendants are not otherwise

 3   prohibited from making such a disclosure, Defendants anticipate substantial completion of their

 4   responsive production within 180 days after such determinations by the Court.

 5   REQUEST FOR PRODUCTION NO. 3:

 6          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the use of NSO

 7   SPYWARE by third-parties, including but not limited to marketing materials, licensing

 8   agreements, user complaints, and training manuals or documents.

 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

10          Defendants incorporate their General Objections, including that this Request purports to

11   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

12   immunity and Due Process rights and despite that Plaintiffs have not established personal

13   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

14 burdensome, and not proportional to the needs of the litigation because it seeks information related

15 to technologies other than the Pegasus technology that was used with respect to the “Target

16 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), and uses of NSO technologies other

17 than the conduct described in the Complaint, which have no relevance to Plaintiffs’ allegations or

18 any issue in this case. Defendants further object to this Request to the extent that it seeks
19 documents and communications in the custody and control of third parties, not Defendants.

20 Defendants further object to the extent this Request seeks third-party information that Defendants

21 are prohibited from disclosing by contractual obligations or foreign law, regulation, governmental

22 order or directive. Defendants further object that the term “use” is vague and ambiguous, as is

23 evidenced by the listing of “marketing materials” as an example of documents that supposedly

24 concern the use of Defendants’ technology by third parties; Defendants disagree that marketing

25 materials about a technology, generally speaking, would be documents concerning the use of that

26 technology by third parties. Responsive materials are being withheld on the basis of these

27   objections.

28          Subject to and without waiving these objections, and conditioned on whether the Court
     OBJECTIONS TO PLAINTIFFS’ FIRST             6                              Case No. 4:19-cv-07123-PJH
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 1   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 2   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 3   responsive and nonprivileged marketing materials, licensing agreements, user complaints, and

 4 training manuals or documents, if any exist, related to the Pegasus technology that was used with

 5   respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants

 6 are able to locate after a reasonable search, provided that (1) the subject matter jurisdiction of this

 7   action is established and, if taken, any interlocutory appeal of such decision is determined; (2)

 8   Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines discovery is

 9   proper at this stage; and (4) Defendants are not prohibited from disclosing such documents and

10   communications by Israeli law, regulation, or governmental order or directive, or any other

11   applicable law, regulation, or governmental order or directive, or by contract. If the Court

12   determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants and

13   that discovery is proper at this stage, and if Defendants are not otherwise prohibited from making

14   such a disclosure, Defendants anticipate substantial completion of their responsive production

15   within 180 days after such determinations by the Court.

16   REQUEST FOR PRODUCTION NO. 4:

17          DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS, and the

18   teams, groups, divisions, or sections at NSO responsible for installation, maintenance, or training

19   of NSO SPYWARE.

20   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

21          Defendants incorporate their General Objections, including that this Request purports to

22 require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

23   immunity and Due Process rights and despite that Plaintiffs have not established personal

24   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

25 burdensome, and not proportional to the needs of the litigation because it seeks information related

26   to technologies other than the Pegasus technology that was used with respect to the “Target

27   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

28   allegations or any issue in this case. Responsive materials are being withheld on the basis of these
     OBJECTIONS TO PLAINTIFFS’ FIRST             7                              Case No. 4:19-cv-07123-PJH
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 1   objections.

 2          Subject to and without waiving these objections, and conditioned on whether the Court

 3   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 4   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 5   documents and communications sufficient to identify the persons responsible for installation,

 6 maintenance or training related to the Pegasus technology that was used with respect to the “Target

 7   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), if any exist, that Defendants are able to

 8 locate after a reasonable search, provided that (1) the subject matter jurisdiction of this action is
 9   established and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs

10   establish personal jurisdiction over Defendants; (3) the Court determines discovery is proper at

11   this stage; and (4) Defendants are not prohibited from disclosing such documents and

12   communications by Israeli law, regulation, or governmental order or directive, or any other

13   applicable law, regulation, or governmental order or directive, or by contract. If the Court

14   determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants and

15   that discovery is proper at this stage, and if Defendants are not otherwise prohibited from making

16   such a disclosure, Defendants anticipate substantial completion of their responsive production

17   within 180 days after such determinations by the Court.

18   REQUEST FOR PRODUCTION NO. 5:

19          ALL DOCUMENTS and COMMUNICATIONS between January 2014 and December

20 2019 CONCERNING the identification of WhatsApp or Facebook application or network

21 vulnerabilities, including but not limited to any payments for bounties for WhatsApp or Facebook

22 vulnerabilities, contracts for services by vendors, or analyst work product and reports.

23   RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

24          Defendants incorporate their General Objections, including that this Request purports to

25   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

26   immunity and Due Process rights and despite that Plaintiffs have not established personal

27   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

28 burdensome, and not proportional to the needs of the litigation because it seeks information related
     OBJECTIONS TO PLAINTIFFS’ FIRST             8                             Case No. 4:19-cv-07123-PJH
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 1   to Facebook vulnerabilities, which has no relevance to Plaintiffs’ allegations or any issue in this

 2   case. Defendants further object to this Request as overbroad, irrelevant, unduly burdensome, and

 3   not proportional to the needs of the litigation to the extent it seeks information related to

 4   vulnerabilities other than the vulnerability allegedly exploited by the Pegasus technology that was

 5   used with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which

 6   has no relevance to Plaintiffs’ allegations or any issue in this case. Defendants further object to

 7   the time period of this Request as arbitrary, overbroad, irrelevant, unduly burdensome, and not

 8   proportional to the needs of the litigation. Plaintiffs’ allegations relate to the period from January

 9   2018, when Plaintiffs allege that Defendants first created WhatsApp accounts, to May 2019, when

10   Plaintiffs “closed the vulnerability” that allegedly allowed Pegasus to function over WhatsApp.

11   Seeking documents from four years before Plaintiffs allege that Defendants’ alleged illegal

12   conduct began and seven months after it ended is arbitrary and improper. Responsive materials

13   are being withheld on the basis of these objections.

14          Subject to and without waiving these objections, and conditioned on whether the Court

15   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

16   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

17   responsive and nonprivileged documents and communications, if any exist, from the time period

18   between January 2018 and May 2019 that relate to the identification of the specific WhatsApp

19   vulnerability allegedly exploited by the Pegasus technology that was used with respect to the

20 “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to

21 locate after a reasonable search, provided that (1) the subject matter jurisdiction of this action is

22   established and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs

23   establish personal jurisdiction over Defendants; (3) the Court determines discovery is proper at

24   this stage; and (4) Defendants are not prohibited from disclosing such documents and

25   communications by Israeli law, regulation, or governmental order or directive, or any other

26   applicable law, regulation, or governmental order or directive, or by contract. If the Court

27   determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants and

28   that discovery is proper at this stage, and if Defendants are not otherwise prohibited from making
     OBJECTIONS TO PLAINTIFFS’ FIRST              9                              Case No. 4:19-cv-07123-PJH
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 1   such a disclosure, Defendants anticipate substantial completion of their responsive production

 2   within 180 days after such determinations by the Court.

 3   REQUEST FOR PRODUCTION NO. 6:

 4          DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS, teams,

 5   groups, or divisions at NSO, as well as vendors, agents, or bounties that assisted in the

 6   identification and analysis of WhatsApp vulnerabilities.

 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

 8          Defendants incorporate their General Objections, including that this Request purports to

 9   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

10   immunity and Due Process rights and despite that Plaintiffs have not established personal

11   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

12 burdensome, and not proportional to the needs of the litigation to the extent it seeks information

13 related to vulnerabilities other than the vulnerability allegedly exploited by the Pegasus technology

14 that was used with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-

15 7), which has no relevance to Plaintiffs’ allegations or any issue in this case. Defendants further

16 object that the term “bounties” is vague and ambiguous. Responsive materials are being withheld

17 on the basis of these objections.

18          Subject to and without waiving these objections, and conditioned on whether the Court

19   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

20   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

21   responsive and nonprivileged documents and communications, if any exist, sufficient to identify

22   the persons that assisted in identifying the specific WhatsApp vulnerability allegedly exploited by

23   the Pegasus technology that was used with respect to the “Target Devices” described in the

24   Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search,

25 provided that (1) the subject matter jurisdiction of this action is established and, if taken, any

26   interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction

27   over Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants are

28   not prohibited from disclosing such documents and communications by Israeli law, regulation, or
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 1   governmental order or directive, or any other applicable law, regulation, or governmental order or

 2   directive, or by contract. If the Court determines it has jurisdiction of the subject matter and

 3   personal jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants

 4   are not otherwise prohibited from making such a disclosure, Defendants anticipate substantial

 5   completion of their responsive production within 180 days after such determinations by the Court.

 6   REQUEST FOR PRODUCTION NO. 7:

 7          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the development and

 8   testing of any EXPLOIT or TECHNOLOGY targeting or directed at WHATSAPP servers or

 9   USERS.

10   RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

11          Defendants incorporate their General Objections, including that this Request purports to

12   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

13   immunity and Due Process rights and despite that Plaintiffs have not established personal

14   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

15 burdensome, and not proportional to the needs of the litigation because it seeks information related

16 to technologies other than the Pegasus technology that was used with respect to the “Target

17 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

18 allegations or any issue in this case. Defendants further object that the phrase “targeting or directed
19   at” are vague and ambiguous. Responsive materials are being withheld on the basis of these

20   objections.

21          Subject to and without waiving these objections, and conditioned on whether the Court

22   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

23   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

24   responsive and nonprivileged documents and communications, if any exist, related to the

25   development and testing of the Pegasus technology that was used with respect to the “Target

26   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after

27   a reasonable search, provided that (1) the subject matter jurisdiction of this action is established

28   and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish
     OBJECTIONS TO PLAINTIFFS’ FIRST              11                            Case No. 4:19-cv-07123-PJH
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 1   personal jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage;

 2   and (4) Defendants are not prohibited from disclosing such documents and communications by

 3   Israeli law, regulation, or governmental order or directive, or any other applicable law, regulation,

 4   or governmental order or directive, or by contract. If the Court determines it has jurisdiction of

 5   the subject matter and personal jurisdiction over Defendants and that discovery is proper at this

 6   stage, and if Defendants are not otherwise prohibited from making such a disclosure, Defendants

 7   anticipate substantial completion of their responsive production within 180 days after such

 8   determinations by the Court.

 9   REQUEST FOR PRODUCTION NO. 8:

10          DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS, teams,

11   groups, divisions, or sections at NSO that assisted in the development, testing, or maintenance of

12   any EXPLOIT or TECHNOLOGY directed at WHATSAPP servers or USERS.

13   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

14          Defendants incorporate their General Objections, including that this Request purports to

15   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

16   immunity and Due Process rights and despite that Plaintiffs have not established personal

17   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

18 burdensome, and not proportional to the needs of the litigation because it seeks information related
19 to technologies other than the Pegasus technology that was used with respect to the “Target

20 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

21 allegations or any issue in this case. Responsive materials are being withheld on the basis of these

22 objections.

23          Subject to and without waiving these objections, and conditioned on whether the Court

24   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

25   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

26   documents and communications sufficient to identify the persons responsible for development,

27   testing, or maintenance of the Pegasus technology that was used with respect to the “Target

28   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), if any exist, that Defendants are able to
     OBJECTIONS TO PLAINTIFFS’ FIRST             12                             Case No. 4:19-cv-07123-PJH
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 1   locate after a reasonable search, provided that (1) the subject matter jurisdiction of this action is

 2   established and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs

 3   establish personal jurisdiction over Defendants; (3) the Court determines discovery is proper at

 4   this stage; and (4) Defendants are not prohibited from disclosing such documents and

 5   communications by Israeli law, regulation, or governmental order or directive, or any other

 6   applicable law, regulation, or governmental order or directive, or by contract. If the Court

 7   determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants and

 8   that discovery is proper at this stage, and if Defendants are not otherwise prohibited from making

 9   such a disclosure, Defendants anticipate substantial completion of their responsive production

10   within 180 days after such determinations by the Court.

11   REQUEST FOR PRODUCTION NO. 9:

12          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the processes, methods,

13   and TECHNOLOGY used by NSO SPYWARE to monitor TARGET DEVICES and exfiltrate

14   data, including but not limited to any command and control software or payloads.

15   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

16          Defendants incorporate their General Objections, including that this Request purports to

17   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

18   immunity and Due Process rights and despite that Plaintiffs have not established personal

19   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

20   burdensome, and not proportional to the needs of the litigation because it seeks information related

21   to technologies other than the Pegasus technology that was used with respect to the “Target

22   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), and devices other the Target Devices,

23   which has no relevance to Plaintiffs’ allegations or any issue in this case. Defendants further object

24   that the phrases “processes [and] methods,” “monitor,” “exfiltrate data,” and “command and

25 control software or payloads” are vague and ambiguous. Responsive materials are being withheld

26 on the basis of these objections.

27          Subject to and without waiving these objections, and conditioned on whether the Court

28   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay
     OBJECTIONS TO PLAINTIFFS’ FIRST              13                             Case No. 4:19-cv-07123-PJH
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 1   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 2   responsive and nonprivileged documents and communications, if any exist, concerning the

 3   processes, methods and technology used by the Pegasus technology that was used with respect to

 4   the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7) and export data from such

 5   Target Devices, that Defendants are able to locate after a reasonable search, provided that (1) the

 6   subject matter jurisdiction of this action is established and, if taken, any interlocutory appeal of

 7   such decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3) the

 8   Court determines discovery is proper at this stage; and (4) Defendants are not prohibited from

 9 disclosing such documents and communications by Israeli law, regulation, or governmental order

10 or directive, or any other applicable law, regulation, or governmental order or directive, or by

11 contract. If the Court determines it has jurisdiction of the subject matter and personal jurisdiction

12 over Defendants and that discovery is proper at this stage, and if Defendants are not otherwise

13 prohibited from making such a disclosure, Defendants anticipate substantial completion of their

14 responsive production within 180 days after such determinations by the Court.

15   REQUEST FOR PRODUCTION NO. 10:

16          ALL DOCUMENTS and COMMUNICATIONS CONCERNING mobile phone and

17   device operating system vulnerabilities used to install NSO SPYWARE on mobile phones and

18   devices of WHATSAPP USERS.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

20          Defendants incorporate their General Objections, including that this Request purports to

21   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

22 immunity and Due Process rights and despite that Plaintiffs have not established personal

23 jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

24 burdensome, and not proportional to the needs of the litigation because it seeks information related

25 to technologies other than the Pegasus technology that was used with respect to the “Target

26 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

27 allegations or any issue in this case. Responsive materials are being withheld on the basis of these

28 objections.
     OBJECTIONS TO PLAINTIFFS’ FIRST             14                            Case No. 4:19-cv-07123-PJH
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 1          Subject to and without waiving these objections, and conditioned on whether the Court

 2   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 3   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 4   responsive and nonprivileged documents and communications, if any exist, concerning mobile

 5   phone and device operating system vulnerabilities used by the Pegasus technology that was used

 6   with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that

 7   Defendants are able to locate after a reasonable search, provided that (1) the subject matter

 8   jurisdiction of this action is established and, if taken, any interlocutory appeal of such decision is

 9   determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines

10 discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing such

11 documents and communications by Israeli law, regulation, or governmental order or directive, or

12 any other applicable law, regulation, or governmental order or directive, or by contract. If the

13 Court determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants

14 and that discovery is proper at this stage, and if Defendants are not otherwise prohibited from

15 making such a disclosure, Defendants anticipate substantial completion of their responsive

16 production within 180 days after such determinations by the Court.

17   REQUEST FOR PRODUCTION NO. 11:

18          DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS, and the

19   teams, groups, divisions, or sections at NSO responsible for identifying mobile phone and device

20   vulnerabilities used by NSO.

21   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

22          Defendants incorporate their General Objections, including that this Request purports to

23   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

24   immunity and Due Process rights and despite that Plaintiffs have not established personal

25   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

26 burdensome, and not proportional to the needs of the litigation because it seeks information related

27 to technologies other than the Pegasus technology that was used with respect to the “Target

28   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), and devices other than the Target
     OBJECTIONS TO PLAINTIFFS’ FIRST              15                             Case No. 4:19-cv-07123-PJH
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 1   Devices, which has no relevance to Plaintiffs’ allegations or any issue in this case. Responsive

 2   materials are being withheld on the basis of these objections.

 3          Subject to and without waiving these objections, and conditioned on whether the Court

 4   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 5   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 6   responsive and nonprivileged documents and communications, if any exist, sufficient to identify

 7   the persons responsible for identifying any mobile phone and device vulnerabilities used by the

 8   the Pegasus technology that was used with respect to the “Target Devices” described in the

 9   Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search,

10   provided that (1) the subject matter jurisdiction of this action is established and, if taken, any

11   interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction

12   over Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants are

13   not prohibited from disclosing such documents and communications by Israeli law, regulation, or

14   governmental order or directive, or any other applicable law, regulation, or governmental order or

15   directive, or by contract. If the Court determines it has jurisdiction of the subject matter and

16   personal jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants

17   are not otherwise prohibited from making such a disclosure, Defendants anticipate substantial

18   completion of their responsive production within 180 days after such determinations by the Court.

19   REQUEST FOR PRODUCTION NO. 12:

20          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the development and

21   testing of EXPLOITS against the mobile phones and devices of WHATSAPP USERS.

22   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

23          Defendants incorporate their General Objections, including that this Request purports to

24   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

25   immunity and Due Process rights and despite that Plaintiffs have not established personal

26   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

27 burdensome, and not proportional to the needs of the litigation to the extent it seeks information

28 related to technologies other than the Pegasus technology that was used with respect to the “Target
     OBJECTIONS TO PLAINTIFFS’ FIRST             16                           Case No. 4:19-cv-07123-PJH
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 1   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

 2   allegations or any issue in this case. Responsive materials are being withheld on the basis of these

 3 objections.

 4          Subject to and without waiving these objections, and conditioned on whether the Court

 5 determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 6 discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 7 responsive and nonprivileged documents and communications, if any exist, related to the

 8 development and testing of the Pegasus technology that was used with respect to the “Target
 9 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after

10 a reasonable search, provided that (1) the subject matter jurisdiction of this action is established

11   and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish

12   personal jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage;

13   and (4) Defendants are not prohibited from disclosing such documents and communications by

14   Israeli law, regulation, or governmental order or directive, or any other applicable law, regulation,

15   or governmental order or directive, or by contract. If the Court determines it has jurisdiction of

16   the subject matter and personal jurisdiction over Defendants and that discovery is proper at this

17   stage, and if Defendants are not otherwise prohibited from making such a disclosure, Defendants

18   anticipate substantial completion of their responsive production within 180 days after such

19   determinations by the Court.

20   REQUEST FOR PRODUCTION NO. 13:

21          DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS, and the

22   teams, groups, divisions, or sections at NSO responsible for developing and testing EXPLOITS

23   against the mobile phone and devices of WHATSAPP USERS.

24   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

25          Defendants incorporate their General Objections, including that this Request purports to

26   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

27   immunity and Due Process rights and despite that Plaintiffs have not established personal

28   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly
     OBJECTIONS TO PLAINTIFFS’ FIRST             17                             Case No. 4:19-cv-07123-PJH
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 1   burdensome, and not proportional to the needs of the litigation because it seeks information related

 2   to technologies other than the Pegasus technology that was used with respect to the “Target

 3   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), and devices other than the Target

 4   Devices, which has no relevance to Plaintiffs’ allegations or any issue in this case.

 5          Subject to and without waiving these objections, and conditioned on whether the Court

 6   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 7   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 8   responsive and nonprivileged documents and communications, if any exist, sufficient to identify

 9   the persons responsible for developing and testing the Pegasus technology that was used with

10   respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants

11 are able to locate after a reasonable search, provided that (1) the subject matter jurisdiction of this

12   action is established and, if taken, any interlocutory appeal of such decision is determined; (2)

13   Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines discovery is

14   proper at this stage; and (4) Defendants are not prohibited from disclosing such documents and

15   communications by Israeli law, regulation, or governmental order or directive, or any other

16   applicable law, regulation, or governmental order or directive, or by contract. If the Court

17   determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants and

18   that discovery is proper at this stage, and if Defendants are not otherwise prohibited from making

19   such a disclosure, Defendants anticipate substantial completion of their responsive production

20   within 180 days after such determinations by the Court.

21   REQUEST FOR PRODUCTION NO. 14:

22          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the processes, methods,

23   and TECHNOLOGY used to install NSO SPYWARE on the mobile phones and devices of

24   WHATSAPP USERS, including but not limited to computer code, commands, data, or payloads

25   transmitted or received during the installation of NSO SPYWARE.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

27          Defendants incorporate their General Objections, including that this Request purports to

28   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign
     OBJECTIONS TO PLAINTIFFS’ FIRST              18                            Case No. 4:19-cv-07123-PJH
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 1   immunity and Due Process rights and despite that Plaintiffs have not established personal

 2   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

 3   burdensome, and not proportional to the needs of the litigation because it seeks information related

 4   to technologies other than the Pegasus technology that was used with respect to the “Target

 5   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), and WhatsApp users other than the

 6 1,400 users described in the Complaint, which has no relevance to Plaintiffs’ allegations or any

 7   issue in this case. Defendants further object that the terms “processes” and “methods” are vague

 8 and ambiguous. Defendants further object to this request to the extent that it seeks documents and
 9   communications concerning conduct by Defendants’ sovereign customers in their use of Pegasus,

10   which Defendants are prohibited from disclosing by contractual obligations or foreign law,

11 regulation, governmental order or directive. Responsive materials are being withheld on the basis

12   of these objections.

13          Subject to and without waiving these objections, and conditioned on whether the Court

14 determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

15 discovery, and subject to the Court’s entry of a protective order, Defendants will produce

16 responsive and nonprivileged documents and communications, if any exist, concerning the

17 processes, methods and technology used to install the Pegasus technology that was used with

18 respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7) on such Target
19   Devices, that Defendants are able to locate after a reasonable search, provided that (1) the subject

20   matter jurisdiction of this action is established and, if taken, any interlocutory appeal of such

21   decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3) the Court

22   determines discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing

23   such documents and communications by Israeli law, regulation, or governmental order or directive,

24   or any other applicable law, regulation, or governmental order or directive, or by contract. If the

25   Court determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants

26 and that discovery is proper at this stage, and if Defendants are not otherwise prohibited from

27   making such a disclosure, Defendants anticipate substantial completion of their responsive

28   production within 180 days after such determinations by the Court.
     OBJECTIONS TO PLAINTIFFS’ FIRST             19                             Case No. 4:19-cv-07123-PJH
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 1   REQUEST FOR PRODUCTION NO. 15:

 2          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the analysis, reverse

 3   engineering, disassembling, or emulating of any version of the WhatsApp application, including

 4   but not limited to its TECHNOLOGY, application programming interfaces (APIs), decompiled

 5   code, binaries, executables, designs, specifications, or analyses of the WhatsApp application,

 6   APIs, or network protocols.

 7   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

 8          Defendants incorporate their General Objections, including that this Request purports to

 9 require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

10   immunity and Due Process rights and despite that Plaintiffs have not established personal

11   jurisdiction over Defendants. Defendants object to the phrases “analysis, reverse engineering,

12   disassembling, or emulating” and “application programming interfaces (APIs), decompiled code,

13   binaries, executables, designs, specifications or analyses of the WhatsApp application, APIs, or

14   network protocols” as vague and ambiguous. Defendants further object to this Request as

15   overbroad, irrelevant, unduly burdensome, and not proportional to the needs of the litigation to the

16 extent it seeks information related to conduct related to technologies other than the Pegasus

17   technology that was used with respect to the “Target Devices” described in the Complaint (Dkt.

18 No. 1 at 2:6-7), which has no relevance to Plaintiffs’ allegations or any issue in this case.
19 Responsive materials are being withheld on the basis of these objections.

20          Subject to and without waiving these objections, and conditioned on whether the Court

21 determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

22 discovery, and subject to the Court’s entry of a protective order, Defendants will produce

23 responsive and nonprivileged documents and communications, if any exist, concerning the

24   analysis, reverse engineering, disassembling, or emulating of the WhatsApp application to the

25   extent related to the Pegasus technology that was used with respect to the “Target Devices”

26   described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a

27   reasonable search, provided that (1) the subject matter jurisdiction of this action is established and,

28   if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal
     OBJECTIONS TO PLAINTIFFS’ FIRST              20                             Case No. 4:19-cv-07123-PJH
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 1   jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage; and (4)

 2   Defendants are not prohibited from disclosing such documents and communications by Israeli law,

 3   regulation, or governmental order or directive, or any other applicable law, regulation, or

 4   governmental order or directive, or by contract. If the Court determines it has jurisdiction of the

 5   subject matter and personal jurisdiction over Defendants and that discovery is proper at this stage,

 6   and if Defendants are not otherwise prohibited from making such a disclosure, Defendants

 7   anticipate substantial completion of their responsive production within 180 days after such

 8   determinations by the Court.

 9   REQUEST FOR PRODUCTION NO. 16:

10          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the TECHNOLOGY or

11   NSO SPYWARE used by NSO to communicate with WhatsApp, including WhatsApp servers,

12   endpoints, computers and computer networks, other than the official WhatsApp application.

13   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

14          Defendants incorporate their General Objections, including that this Request purports to

15   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

16   immunity and Due Process rights and despite that Plaintiffs have not established personal

17   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

18 burdensome, and not proportional to the needs of the litigation because it seeks information related
19 to technologies other than the Pegasus technology that was used with respect to the “Target

20 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

21 allegations or any issue in this case. Responsive materials are being withheld on the basis of these

22 objections.

23          Subject to and without waiving these objections, and conditioned on whether the Court

24   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

25   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

26   responsive and nonprivileged documents and communications, if any exist, concerning the aspects

27 of the Pegasus technology that was used with respect to the “Target Devices” described in the

28   Complaint (Dkt. No. 1 at 2:6-7) that were used by NSO to communicate with WhatsApp, that
     OBJECTIONS TO PLAINTIFFS’ FIRST             21                            Case No. 4:19-cv-07123-PJH
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 1   Defendants are able to locate after a reasonable search, provided that (1) the subject matter

 2   jurisdiction of this action is established and, if taken, any interlocutory appeal of such decision is

 3   determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3) the Court determines

 4   discovery is proper at this stage; and (4) Defendants are not prohibited from disclosing such

 5 documents and communications by Israeli law, regulation, or governmental order or directive, or

 6 any other applicable law, regulation, or governmental order or directive, or by contract. If the

 7 Court determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants

 8 and that discovery is proper at this stage, and if Defendants are not otherwise prohibited from
 9 making such a disclosure, Defendants anticipate substantial completion of their responsive

10 production within 180 days after such determinations by the Court.

11   REQUEST FOR PRODUCTION NO. 17:

12          ALL DOCUMENTS and COMMUNICATIONS CONCERNING any WHATSAPP

13   ACCOUNTS used to develop, test, transmit, install, distribute, or use any NSO SPYWARE.

14   RESPONSE TO REQUEST FOR PRODUCTION NO. 17:

15          Defendants incorporate their General Objections, including that this Request purports to

16   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

17   immunity and Due Process rights and despite that Plaintiffs have not established personal

18   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

19   burdensome, and not proportional to the needs of the litigation because it seeks information related

20   to technologies other than the Pegasus technology that was used with respect to the “Target

21   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

22   allegations or any issue in this case. Defendants further object to “use” as vague and ambiguous.

23   Defendants further object to this request to the extent that it seeks documents and communications

24   concerning WhatsApp Accounts used by Defendants’ sovereign customers in their use of Pegasus,

25   which Defendants are prohibited from disclosing by contractual obligations or foreign law,

26   regulation, governmental order or directive. Responsive materials are being withheld on the basis

27   of these objections.    Defendants further object to this request to the extent it implies that

28   Defendants “use” Pegasus, which is not the case.
     OBJECTIONS TO PLAINTIFFS’ FIRST              22                             Case No. 4:19-cv-07123-PJH
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 1          Subject to and without waiving these objections, and conditioned on whether the Court

 2 determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 3 discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 4 responsive and nonprivileged documents and communications, if any exist, concerning any

 5 WhatsApp accounts used by Defendants to develop, test, transmit, install, or distribute the Pegasus

 6 technology that was used with respect to the “Target Devices” described in the Complaint (Dkt.

 7 No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search, provided that (1) the

 8   subject matter jurisdiction of this action is established and, if taken, any interlocutory appeal of

 9   such decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3) the

10 Court determines discovery is proper at this stage; and (4) Defendants are not prohibited from

11 disclosing such documents and communications by Israeli law, regulation, or governmental order

12 or directive, or any other applicable law, regulation, or governmental order or directive, or by

13 contract. If the Court determines it has jurisdiction of the subject matter and personal jurisdiction

14 over Defendants and that discovery is proper at this stage, and if Defendants are not otherwise

15 prohibited from making such a disclosure, Defendants anticipate substantial completion of their

16 responsive production within 180 days after such determinations by the Court.

17 REQUEST FOR PRODUCTION NO. 18:

18          DOCUMENTS and COMMUNICATIONS sufficient to identify the PERSONS, and the

19   teams, groups, divisions, or section at NSO that assisted in creating, using, or accessing each of

20 the WHATSAPP ACCOUNTS responsive to REQUEST FOR PRODUCTION NO. 17.

21   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

22          Defendants incorporate their General Objections, including that this Request purports to

23 require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

24 immunity and Due Process rights and despite that Plaintiffs have not established personal

25 jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

26   burdensome, and not proportional to the needs of the litigation because it seeks information related

27   to technologies other than the Pegasus technology that was used with respect to the “Target

28   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’
     OBJECTIONS TO PLAINTIFFS’ FIRST             23                            Case No. 4:19-cv-07123-PJH
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 1   allegations or any issue in this case. Defendants further object to the terms “using” and “accessing”

 2   as vague and ambiguous, and that the phrase “assisted in creating, using or accessing” is vague

 3 and ambiguous. Responsive materials are being withheld on the basis of these objections.

 4          Subject to and without waiving these objections, and conditioned on whether the Court

 5 determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 6 discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 7 responsive and nonprivileged documents and communications, if any exist, sufficient to identify

 8 the persons who created and used the WhatsApp accounts used by Defendants to develop, test,
 9 transmit, install, or distribute the Pegasus technology that was used with respect to the “Target

10 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after

11   a reasonable search, provided that (1) the subject matter jurisdiction of this action is established

12   and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish

13   personal jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage;

14   and (4) Defendants are not prohibited from disclosing such documents and communications by

15   Israeli law, regulation, or governmental order or directive, or any other applicable law, regulation,

16   or governmental order or directive, or by contract. If the Court determines it has jurisdiction of

17   the subject matter and personal jurisdiction over Defendants and that discovery is proper at this

18   stage, and if Defendants are not otherwise prohibited from making such a disclosure, Defendants

19   anticipate substantial completion of their responsive production within 180 days after such

20   determinations by the Court.

21   REQUEST FOR PRODUCTION NO. 19:

22          ALL DOCUMENTS and COMMUNICATIONS CONCERNING the TECHNOLOGY

23   used to transmit any data or information from any device containing or infected with any NSO

24   SPYWARE, including but not limited to the TARGET DEVICES, to NSO or to NSO

25   CUSTOMERS.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

27          Defendants incorporate their General Objections, including that this Request purports to

28   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign
     OBJECTIONS TO PLAINTIFFS’ FIRST             24                             Case No. 4:19-cv-07123-PJH
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 1   immunity and Due Process rights and despite that Plaintiffs have not established personal

 2   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

 3   burdensome, and not proportional to the needs of the litigation because it seeks information related

 4   to technologies other than the Pegasus technology that was used with respect to the “Target

 5   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), and WhatsApp users other than the

 6   1,400 users described in the Complaint, which has no relevance to Plaintiffs’ allegations or any

 7   issue in this case. Defendants further object to the extent this Request seeks third-party information

 8 that Defendants are prohibited from disclosing by contractual obligations or foreign law,
 9 regulation, governmental order or directive. Responsive materials are being withheld on the basis

10 of these objections.

11          Subject to and without waiving these objections, and conditioned on whether the Court

12 determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

13 discovery, and subject to the Court’s entry of a protective order, Defendants will produce

14 responsive and nonprivileged documents and communications, if any exist, concerning the

15 Pegasus technology that was used to transmit data or information from the “Target Devices”

16 described in the Complaint (Dkt. No. 1 at 2:6-7) that Defendants are able to locate after a

17   reasonable search, provided that (1) the subject matter jurisdiction of this action is established and,

18   if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal

19   jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage; and (4)

20 Defendants are not prohibited from disclosing such documents and communications by Israeli law,

21 regulation, or governmental order or directive, or any other applicable law, regulation, or

22 governmental order or directive, or by contract. If the Court determines it has jurisdiction of the

23 subject matter and personal jurisdiction over Defendants and that discovery is proper at this stage,

24 and if Defendants are not otherwise prohibited from making such a disclosure, Defendants

25 anticipate substantial completion of their responsive production within 180 days after such

26 determinations by the Court.

27   REQUEST FOR PRODUCTION NO. 20:

28          DOCUMENTS sufficient to describe the design and operation of PEGASUS, including but
     OBJECTIONS TO PLAINTIFFS’ FIRST              25                             Case No. 4:19-cv-07123-PJH
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 1   not limited to the “layers” described in Exhibit 10 of the COMPLAINT: installation, data

 2   collection, data, transmission, presentation and analysis, and administration.

 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

 4          Defendants incorporate their General Objections, including that this Request purports to

 5   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

 6   immunity and Due Process rights and despite that Plaintiffs have not established personal

 7   jurisdiction over Defendants. Defendants object to the terms “operation,” “layers,” “presentation

 8   and analysis,” and “administration” as vague and ambiguous. Defendants further object to the

 9   phrase “data, transmission” as vague and ambiguous; Defendants will interpret that phrase as “data

10   transmission.”

11          Subject to and without waiving these objections, and conditioned on whether the Court

12   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

13   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

14   nonprivileged documents, if any exist, sufficient to describe the design and operation of the

15 Pegasus technology that was used with respect to the “Target Devices” described in the Complaint

16   (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search, provided that (1)

17   the subject matter jurisdiction of this action is established and, if taken, any interlocutory appeal

18   of such decision is determined; (2) Plaintiffs establish personal jurisdiction over Defendants; (3)

19   the Court determines discovery is proper at this stage; and (4) Defendants are not prohibited from

20 disclosing such documents and communications by Israeli law, regulation, or governmental order

21 or directive, or any other applicable law, regulation, or governmental order or directive, or by

22 contract. If the Court determines it has jurisdiction of the subject matter and personal jurisdiction

23 over Defendants and that discovery is proper at this stage, and if Defendants are not otherwise

24 prohibited from making such a disclosure, Defendants anticipate substantial completion of their

25 responsive production within 180 days after such determinations by the Court.

26   REQUEST FOR PRODUCTION NO. 21:

27          DOCUMENTS sufficient to describe the design and operation of PEGASUS’ system

28   architecture and TECHNOLOGY, as described in Exhibit 10 of the COMPLAINT.
     OBJECTIONS TO PLAINTIFFS’ FIRST              26                             Case No. 4:19-cv-07123-PJH
     REQUESTS FOR PRODUCTION
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 1   RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

 2          Defendants incorporate their General Objections, including that this Request purports to

 3   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

 4   immunity and Due Process rights and despite that Plaintiffs have not established personal

 5   jurisdiction over Defendants. Defendants further object that the terms “operation” and “system

 6   architecture” are vague and ambiguous.

 7          Subject to and without waiving these objections, and conditioned on whether the Court

 8   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 9   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

10   nonprivileged documents, if any exist, sufficient to describe the design and operation of system

11 architecture and technology of the Pegasus technology that was used with respect to the “Target

12   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after

13   a reasonable search, provided that (1) the subject matter jurisdiction of this action is established

14 and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish

15 personal jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage;

16 and (4) Defendants are not prohibited from disclosing such documents and communications by

17 Israeli law, regulation, or governmental order or directive, or any other applicable law, regulation,

18 or governmental order or directive, or by contract. If the Court determines it has jurisdiction of
19 the subject matter and personal jurisdiction over Defendants and that discovery is proper at this

20 stage, and if Defendants are not otherwise prohibited from making such a disclosure, Defendants

21 anticipate substantial completion of their responsive production within 180 days after such

22 determinations by the Court.

23   REQUEST FOR PRODUCTION NO. 22:

24          DOCUMENTS sufficient to describe the PEGASUS Anonymizing Transmission Network,

25   as described in Exhibit 10 of the COMPLAINT.

26   RESPONSE TO REQUEST FOR PRODUCTION NO. 22:

27          Defendants incorporate their General Objections, including that this Request purports to

28   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign
     OBJECTIONS TO PLAINTIFFS’ FIRST             27                            Case No. 4:19-cv-07123-PJH
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 1   immunity and Due Process rights and despite that Plaintiffs have not established personal

 2   jurisdiction over Defendants. Defendants further object to the phrase “Anonymizing Transmission

 3   Network” as vague and ambiguous.

 4           Subject to and without waiving these objections, and conditioned on whether the Court

 5   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

 6   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

 7   nonprivileged documents, if any exist, sufficient to describe the Pegasus Anonymizing

 8   Transmission Network to the extent related to the Pegasus technology that was used with respect

 9 to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able

10 to locate after a reasonable search, provided that (1) the subject matter jurisdiction of this action is

11   established and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs

12   establish personal jurisdiction over Defendants; (3) the Court determines discovery is proper at

13   this stage; and (4) Defendants are not prohibited from disclosing such documents and

14   communications by Israeli law, regulation, or governmental order or directive, or any other

15   applicable law, regulation, or governmental order or directive, or by contract. If the Court

16   determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants and

17   that discovery is proper at this stage, and if Defendants are not otherwise prohibited from making

18   such a disclosure, Defendants anticipate substantial completion of their responsive production

19   within 180 days after such determinations by the Court.

20   REQUEST FOR PRODUCTION NO. 23:

21           ALL DOCUMENTS and COMMUNICATIONS CONCERNING the servers identified in

22   response to REQUESTS FOR PRODUCTION NOS. 16, 19, 21, and 22 above, including but not

23   limited to COMMUNICATIONS with the third-party providers from whom those servers were

24 leased, and the locations of those servers.

25   RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

26           Defendants incorporate their General Objections, including that this Request purports to

27   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

28   immunity and Due Process rights and despite that Plaintiffs have not established personal
     OBJECTIONS TO PLAINTIFFS’ FIRST              28                             Case No. 4:19-cv-07123-PJH
     REQUESTS FOR PRODUCTION
     Case 4:19-cv-07123-PJH Document 116-3 Filed 08/05/20 Page 31 of 38




 1   jurisdiction over Defendants. Defendants object to this Request as vague, ambiguous, and

 2   unintelligible because Requests Nos. 16, 19, 21, and 22 do not mention servers or ask Defendants

 3   to identify specific servers. Defendants further object to this Request as overbroad, irrelevant,

 4   unduly burdensome, and not proportional to the needs of the litigation to the extent it seeks

 5   information related to technologies other than the Pegasus technology that was used with respect

 6   to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance

 7   to Plaintiffs’ allegations or any issue in this case. Defendants further object that this Request seeks

 8 irrelevant information because the location of any third-party servers is irrelevant as a matter of
 9 law to any issue in this case.

10          The requested discovery, to the extent any exists, is withheld on these bases.

11   REQUEST FOR PRODUCTION NO. 24:

12          DOCUMENTS sufficient to describe all of the data and information NSO or NSO

13   CUSTOMERS obtained from the TARGET USERS or the TARGET DEVICES.

14   RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

15          Defendants incorporate their General Objections, including that this Request purports to

16   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

17   immunity and Due Process rights and despite that Plaintiffs have not established personal

18   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

19   burdensome, and not proportional to the needs of the litigation because it seeks information related

20   to technologies other than the Pegasus technology that was used with respect to the “Target

21   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), and WhatsApp users other than the

22   1,400 users described in the Complaint, which has no relevance to Plaintiffs’ allegations or any

23   issue in this case. Defendants further object to the extent this Request seeks information that is

24   not within Defendants’ custody or control and/or third-party information that Defendants are

25   prohibited from disclosing by contractual obligations or foreign law, regulation, governmental

26   order or directive. Responsive materials are being withheld on the basis of these objections.

27          Subject to and without waiving these objections, and conditioned on whether the Court

28   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay
     OBJECTIONS TO PLAINTIFFS’ FIRST              29                             Case No. 4:19-cv-07123-PJH
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 1   discovery, and subject to the Court’s entry of a protective order, Defendants respond that as a

 2   general matter, NSO does not have access to the information NSO’s customers obtain from target

 3   users or target devices, including through use of the Pegasus technology that was used with respect

 4   to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), and NSO may only come

 5   into such information if it is provided to NSO by NSO’s customer; to the extent Defendants have

 6   any responsive and nonprivileged documents, Defendants will produce documents sufficient to

 7 describe whatever information NSO has obtained from the “Target Devices” described in the

 8 Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a reasonable search,
 9 provided that (1) the subject matter jurisdiction of this action is established and, if taken, any

10 interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction

11 over Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants are

12   not prohibited from disclosing such documents and communications by Israeli law, regulation, or

13   governmental order or directive, or any other applicable law, regulation, or governmental order or

14   directive, or by contract. If the Court determines it has jurisdiction of the subject matter and

15   personal jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants

16   are not otherwise prohibited from making such a disclosure, Defendants anticipate substantial

17   completion of their responsive production within 180 days after such determinations by the Court.

18   REQUEST FOR PRODUCTION NO. 25:

19          ALL DOCUMENTS and COMMUNICATIONS sufficient to identify all NSO

20   CUSTOMERS referenced in Defendants’ Opposition to the Motion to Dismiss.

21   RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

22          Defendants incorporate their General Objections, including that this Request purports to

23   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

24   immunity and Due Process rights and despite that Plaintiffs have not established personal

25   jurisdiction over Defendants. Defendants object to this Request as vague, ambiguous, and

26   unintelligible because there is no such document as “Defendants’ Opposition to the Motion to

27   Dismiss.” Defendants cannot discern the information this Request seeks.

28          Responsive materials, to the extent any exist, is withheld on these bases.
     OBJECTIONS TO PLAINTIFFS’ FIRST             30                            Case No. 4:19-cv-07123-PJH
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 1   REQUEST FOR PRODUCTION NO. 26:

 2          ALL DOCUMENTS used to market, sell, or promote NSO SPYWARE, including but not

 3   limited to any DOCUMENTS or COMMUNICATIONS that refer to WhatsApp or Facebook in

 4   any way.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 26:

 6          Defendants incorporate their General Objections, including that this Request purports to

 7   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

 8   immunity and Due Process rights and despite that Plaintiffs have not established personal

 9   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

10   burdensome, and not proportional to the needs of the litigation because it seeks information related

11   to technologies other than the Pegasus technology that was used with respect to the “Target

12   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

13   allegations or any issue in this case. Responsive materials are being withheld on the basis of these

14 objections.

15          Subject to and without waiving these objections, and conditioned on whether the Court

16 determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

17 discovery, and subject to the Court’s entry of a protective order, Defendants will produce its

18 marketing, sales and promotional materials, if any exist, related to the Pegasus technology that was
19 used with respect to the “Target Devices” described in the Complaint (Dkt. No. 1 at 2:6-7) and

20   which refer to WhatsApp or Facebook, that Defendants are able to locate after a reasonable search,

21   provided that (1) the subject matter jurisdiction of this action is established and, if taken, any

22   interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal jurisdiction

23   over Defendants; (3) the Court determines discovery is proper at this stage; and (4) Defendants are

24   not prohibited from disclosing such documents and communications by Israeli law, regulation, or

25   governmental order or directive, or any other applicable law, regulation, or governmental order or

26   directive, or by contract. If the Court determines it has jurisdiction of the subject matter and

27   personal jurisdiction over Defendants and that discovery is proper at this stage, and if Defendants

28   are not otherwise prohibited from making such a disclosure, Defendants anticipate substantial
     OBJECTIONS TO PLAINTIFFS’ FIRST             31                            Case No. 4:19-cv-07123-PJH
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 1   completion of their responsive production within 180 days after such determinations by the Court.

 2   REQUEST FOR PRODUCTION NO. 27:

 3           DOCUMENTS sufficient to describe NSO’s corporate structure, including all parents,

 4   subsidiaries, and affiliates.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

 6           Defendants incorporate their General Objections, including that this Request purports to

 7   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

 8   immunity and Due Process rights and despite that Plaintiffs have not established personal

 9   jurisdiction over Defendants.

10           Subject to and without waiving these objections, and conditioned on whether the Court

11   determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

12   discovery, and subject to the Court’s entry of a protective order, Defendants will produce

13   nonprivileged documents, if any exist, responsive to this request, that Defendants are able to locate

14   after a reasonable search, provided that (1) the subject matter jurisdiction of this action is

15   established and, if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs

16   establish personal jurisdiction over Defendants; (3) the Court determines discovery is proper at

17   this stage; and (4) Defendants are not prohibited from disclosing such documents and

18   communications by Israeli law, regulation, or governmental order or directive, or any other

19   applicable law, regulation, or governmental order or directive, or by contract. If the Court

20   determines it has jurisdiction of the subject matter and personal jurisdiction over Defendants and

21   that discovery is proper at this stage, and if Defendants are not otherwise prohibited from making

22   such a disclosure, Defendants anticipate substantial completion of their responsive production

23   within 180 days after such determinations by the Court.

24   REQUEST FOR PRODUCTION NO. 28:

25           ALL COMMUNICATIONS with Westbridge Technologies relating to WhatsApp and

26   Facebook and the surveillance of Facebook and WhatsApp users.

27   RESPONSE TO REQUEST FOR PRODUCTION NO. 28:

28           Defendants incorporate their General Objections, including that this Request purports to
     OBJECTIONS TO PLAINTIFFS’ FIRST             32                             Case No. 4:19-cv-07123-PJH
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 1   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

 2   immunity and Due Process rights and despite that Plaintiffs have not established personal

 3   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

 4   burdensome, and not proportional to the needs of the litigation because it seeks information related

 5   to technologies other than the Pegasus technology that was used with respect to the “Target

 6   Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

 7   allegations or any issue in this case, and “surveillance of Facebook . . . users,” which does not

 8   relate to any claim or defense, which has no relevance to Plaintiffs’ allegations or any issue in this

 9 case. Responsive materials are being withheld on the basis of these objections.

10          Subject to and without waiving these objections, and conditioned on whether the Court

11 determines that discovery is proper at this stage in consideration of Defendants’ motion to stay

12 discovery, and subject to the Court’s entry of a protective order, Defendants will produce

13 nonprivileged and responsive communications with Westbridge Technologies, if any exist, related

14 to WhatsApp and Facebook and the use of the Pegasus technology to monitor the “Target Devices”

15 described in the Complaint (Dkt. No. 1 at 2:6-7), that Defendants are able to locate after a

16 reasonable search, provided that (1) the subject matter jurisdiction of this action is established and,

17   if taken, any interlocutory appeal of such decision is determined; (2) Plaintiffs establish personal

18   jurisdiction over Defendants; (3) the Court determines discovery is proper at this stage; and (4)

19 Defendants are not prohibited from disclosing such documents and communications by Israeli law,

20 regulation, or governmental order or directive, or any other applicable law, regulation, or

21 governmental order or directive, or by contract. If the Court determines it has jurisdiction of the

22 subject matter and personal jurisdiction over Defendants and that discovery is proper at this stage,

23 and if Defendants are not otherwise prohibited from making such a disclosure, Defendants

24 anticipate substantial completion of their responsive production within 180 days after such

25 determinations by the Court.

26   REQUEST FOR PRODUCTION NO. 29:

27          DOCUMENTS sufficient to show NSO’s financial statements, balance sheets, gross

28   profits, cost of goods sold, and net profits related to NSO SPYWARE and WHATSAPP USERS
     OBJECTIONS TO PLAINTIFFS’ FIRST              33                             Case No. 4:19-cv-07123-PJH
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 1   for calendar years 2014-2019.

 2   RESPONSE TO REQUEST FOR PRODUCTION NO. 29:

 3          Defendants incorporate their General Objections, including that this Request purports to

 4   require Defendants to participate in this lawsuit in violation of Defendants’ derivative sovereign

 5   immunity and Due Process rights and despite that Plaintiffs have not established personal

 6   jurisdiction over Defendants. Defendants object to this Request as overbroad, irrelevant, unduly

 7   burdensome, and not proportional to the needs of the litigation because it seeks information related

 8   to technologies other than the Pegasus technology that was used with respect to the “Target

 9 Devices” described in the Complaint (Dkt. No. 1 at 2:6-7), which has no relevance to Plaintiffs’

10   allegations or any issue in this case. Defendants further object to the time period of this Request

11 as arbitrary and overbroad because Plaintiffs’ allegations relate to the period from January 2018,

12 when Plaintiffs allege that Defendants first created WhatsApp accounts, to May 2019, when

13 Plaintiffs “closed the vulnerability” that allegedly allowed Pegasus to function over WhatsApp.

14 Defendants further object that this Request seeks irrelevant information because Defendants’

15 “financial statements, balance sheets, gross profits, cost of goods sold, and net profits” related to

16 Pegasus are irrelevant to any issue in this case. At a minimum, such information is premature

17 before liability is established and damages must be calculated.

18          The requested discovery, to the extent any exists, is withheld on these bases.

19

20    Dated: July 6, 2020                              KING & SPALDING LLP
21

22                                                     By: /s/Joseph N. Akrotirianakis
23                                                        JOSEPH N. AKROTIRIANAKIS
                                                          Attorneys for Defendants
24

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     OBJECTIONS TO PLAINTIFFS’ FIRST             34                            Case No. 4:19-cv-07123-PJH
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 1                                         PROOF OF SERVICE

 2         I am a citizen of the United States and resident of the State of California. I am employed
   in the county of Los Angeles, State of California, in the office of a member of the bar of this
 3 Court, at whose direction this service was made. I am over the age of eighteen years and not a
   party to the within action.
 4

 5          On July 6, 2020, I served the following documents in the manner described below:

 6 DEFENDANTS’ RESPONSES AND OBJECTIONS TO PLAINTIFFS’ FIRST

 7 REQUESTS FOR PRODUCTION

 8
              (BY U.S. MAIL) I am personally and readily familiar with the business practice of
 9             King & Spalding LLP for collection and processing of correspondence for mailing
               with the United States Postal Service, and I caused such envelope(s) with postage
10             thereon fully prepaid to be placed in the United States Postal Service at Los Angeles,
               California.
11

12   On the following part(ies) in this action:

13                                        SEE ATTACHED LIST

14
     I declare under penalty of perjury under the laws of the State of California that the foregoing is
15   true and correct. Executed on July 6, 2020, at Los Angeles, California.
16

17                                                                MINA TUNSON
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                                                   35                           Case No. 4:19-cv-07123-PJH
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       DEFENDANTS’ MOTION TO               36                 Case No. 4:19-cv-07123-PJH
       DISMISS
